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From: Grogan, Christine (Tina)

Sent: Thursday, April 26, 2001 4:10 PM

To: Hwang, Angela; Tyler, Lance

Cc: Glover, Craig; 'brooks@embryonic.com'
Subject: RE: ADA Symposium

Craig, I guess the solution would be to have Marta put the suggestion in
the letter, we will send back to the review that IHR reps will have
invites. (maybe a stipulation to only target glucotrol/viagra clients)
Not sure it will go thorugh but we could try. I hate to disadvantate the
other teams on this project.

----- Original Message-----—

From: Hwang, Angela

Sent: Thursday, April 26, 2001 8:11 AM

To: Tyler, Lance; Grogan, Christine (Tina)

Subject: RE: ADA Symposium

Isn't it the grants committee who will review? Let me know when we have
teh approval, Lance - our reps would be glad to distribute too

Thanks

----- Original Message-----

From: Tyler, Lance

Sent: Thursday, April 26, 2001 8:00 AM

To: Grogan, Christine (Tina); Hwang, Angela
Subject: RE: ADA Symposium

Our RC has allowed rep distribution of CME program invitations if the
accrediting body has sent a written request asking for such
support/help. I could see how Neurontin could prevent this on this
program though. If Tina your RC is comfortable with it I would be happy
to take such a request letter to our RC.

LT

----- Original Message-----

From: Grogan, Christine (Tina)

Sent: Wednesday, April 25, 2001 8:56 PM
To: Hwang, Angela; Tyler, Lance
Subject: FW: ADA Symposium

Hey guys, update, please provide me feedback on the IHR reps question,
not sure if we can do but your feedback will help.

----- Original Message-----

From: Marta Brooks [mailto:Brooks@EMBRYONINC. COM]
Sent: Wednesday, April 25, 2001 7:22 PM

To: 'Grogan, Christine (Tina)'

Cc: MaryAnn Hagan

Subject: RE: ADA Symposium

Tina:

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I picked up the changes from Craig this afternoon. We will make them
and

resubmit it to you. I think that it would be prudent to include the
grant

request letter from the CME provider which I beleive we could get to you
by

the time you are back in the office. I will defer to Mary Ann for the
final

say on this point.

For future refernce, there is a version of the budget that we usually
provide that is less specific and accompanies the grants request from
the

CME provider. Some of the changes being requested by the grants
committee

would have not come up with this version. Anyway, I understand from the
voicemail that Craig received from the committee member that with the
changes requested, approval should not be a problem.

On another note, we have been approached by Proworx to include our

symposium

invitation in a medical bag insert for doctors at ADA and for
distribution

to IHR reps for them to hand out to their physicians. Can we give the
invites out to the IHR reps? My understanding with the current
environment

for Neurontin, that despite this being a CME program, you probably do
not

want reps handing out invites to a program discussing in part an
off-label

uses for Neurontin. I discussed this point with Craig and he confirmed
that

CME invites have been given to reps for on-label programs. He deferred
to

your judgment and experiences on this one. Please also refer to my

voicemail on this subject.

Regards,

Marta

----- Original Message-----—

From: Grogan, Christine (Tina) [mailto:Christine.Grogan@pfizer.com]
Sent: Wednesday, April 25, 2001 1:53 AM

To: 'Marta Brooks'; Tyler, Lance; Hwang, Angela

Cc: MaryAnn Hagan; Greselda Butler; Glover, Craig

Subject: RE: ADA Symposium

Marta,

Grants committee did not approve this yet, needed some more information

and

wanted the Pfizer name removed on some of the doucmentation. I am out of
the

office in San Fran until next monday, I asked craig to get the comments

back

and provide to you if that is ok. 3-6628.

tks

tina

----- Original Message-----

From: Marta Brooks [mailto:Brooks@EMBRYONINC. COM]
Sent: Tuesday, April 10, 2001 7:35 PM

To: Christine Grogan (E-mail); Lance Tyler (E-mail)

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Cc: MaryAnn Hagan; Greselda Butler
Subject: ADA Symposium

Dear Tina and Lance:

As per my conversations with Tina, I am forwarding two budget proposals
for

your review. One is the satellite symposium alone and one includes a
highlights proceedings (the more cost-sensitive enduring material) with
the

satellite. Please review and let me know which avenue you want to
pursue so

that we can move forward with the grant request through Dannemiller. I
look

forward to your decision and thanks in advance for your quick attention
to

this matter.

Please do not hesitate to call me with any questions.
Kind Regards,

Marta

<<202676.pro.Symposia Only.doc>> <<202676.pro.Symp-Highlights.doc>>

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